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21                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
22                                     WESTERN DIVISION
23     UNITED STATES OF AMERICA ex                 No. CV 16-08697 MWF (SSx)
       rel. BENJAMIN POEHLING,
24                                                 NOTICE OF AMENDED OPINION BY
                   Plaintiffs,                     THE NINTH CIRCUIT; EXHIBIT
25
                          v.                       Date: September 17, 2018
26                                                 Time: 10:00 a.m.
       UNITEDHEALTH GROUP, INC., et al.,           Court: 5A, Hon. Michael W. Fitzgerald
27
                   Defendants.
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 1           PLEASE TAKE NOTICE that, on September 11, 2018, the Ninth Circuit filed its
 2     Amended Opinion in United States ex rel. Silingo v. Wellpoint, Inc., ___ F.3d ___, 2018
 3     WL 4403407 (9th Cir. Sept. 11, 2018), a true and correct copy of which is attached
 4     hereto as an Exhibit. In Silingo, the Ninth Circuit considered a Medicare Advantage
 5     Organization’s legal obligations with respect to accurate diagnosis coding and the
 6     materiality of codes with respect to risk-adjusted payments under Medicare Part C.
 7     Plaintiffs cited the Ninth Circuit’s initial July 9, 2018 Silingo opinion, 895 F.3d 619, in
 8     the following briefs:
 9           • United States and Relator Poehling’s Reply Mem. of P.&A. in Supp. of Joint
10               Mot. for Partial Summ. J. (Dkt. 272), at 2, 4-7, 11, 43;
11           • Plaintiffs’ Mem. P.&A. in Supp. of Joint Mot. Pursuant to Rule 16(b)(3) for
12               Issuance of a Scheduling Order (Dkt. 261), at 7, 8, 9, 10; and
13           • Plaintiffs’ Reply Mem. in Supp. of Mot. Pursuant to Rule 16(b)(3) for
14               Scheduling Order Modifying Discovery (Dkt. 278), at 1, 9, 14.
15           Plaintiffs note that the Ninth Circuit’s Amended Opinion does not materially
16     modify the original decision and the portions of the opinion that Plaintiffs quoted remain
17     unchanged.
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     Case 2:16-cv-08697-MWF-SS Document 287 Filed 09/18/18 Page 3 of 3 Page ID #:5838




 1      Dated: September 18, 2018          Respectfully submitted,
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